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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


    ERIC FLOWERS,

           Petitioner,

    v.                                                     CASE NO. 8:03-CV-618-T-30MAP
                                                                    8:01-CR-445-T-30MAP
    UNITED STATES OF AMERICA,

         Respondent.
    ______________________________/

                                                  ORDER

           This matter comes before the Court upon receipt of a letter from Petitioner (Dkt. 10)

    seeking clarification of the May 16, 2006 order denying the motion to vacate he filed

    pursuant to 28 U.S.C. § 2255. As stated in the dismissal order, the Court reviewed the files

    of Petitioner’s criminal proceedings and the § 2255 proceedings he initiated on April 2,

    2003, and found nothing to indicate that the § 2255 motion, rejected by the Court as

    premature on May 9, 2003, was refiled. Nonetheless, because Petitioner produced a

    certified mail receipt indicating that he mailed a document to the Clerk on September 18,

    2004, and an affidavit averring that said document was a request to refile the § 2255 motion

    filed on April 2, 2003, the Court reopened his case and addressed the merits of the claims

    presented therein.

           Petitioner raised two grounds in support of his request to set aside his sentence: (1)

    “trial counsel did not object to sentence which was applied in illegal manner,” and (2) “the

    court erred by not giving Petitioner constitutional [sic] mandated downward departure based

    on rule (sic) as [a] ‘mule’” (Dkt. 1 at 3).

           In the memorandum of law filed on March 8, 2006, in support of Ground One of the

    petition, Petitioner asserted that his sentence was imposed in violation of Apprendi v. New
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    Jersey, 530 U.S. 466 (2000), and United States v. Booker, 543 U.S. 220 (2005). This claim

    was rejected because Petitioner’s judgment was final before the Booker decision was

    issued, and the Eleventh Circuit has held that Apprendi and Booker are not retroactive to

    cases on collateral review. See Varela v. United States, 400 F. 3d 864, 868 (11th Cir.

    2005).

             The Court held, in the alternative, that because Petitioner had no objection to the

    factual statements in his presentence report at sentencing and the Court adopted those

    facts, including drug quantity, they were admitted as true. Hence, there is no Sixth

    Amendment violation under Booker. See United States v. Shelton, 400 F. 3d 1325 (11th

    Cir. 2005).

             In Ground Two of Petitioner’s § 2255 motion, he argued that he was entitled to a

    “constitutional [sic] mandated downward departure based on [his] rule (sic) as [a] mule.”

    The Court found that because complaints about a sentencing error must be raised on direct

    appeal, Ground Two failed to state a basis for relief under § 2255.1

             ACCORDINGLY, the Court ORDERS that Petitioner’s request for clarification (Dkt.

    10) is GRANTED, consistent with the foregoing. This case stands closed. The Clerk shall

    enclose a copy of the docket sheet with Petitioner’s copy of this order.

             DONE and ORDERED in Tampa, Florida on July 5, 2006.




    Copy furnished to:
    All Parties/Counsel of Record

    SA:jsh


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             As noted in the dismissal order, Petitioner raised this issue on direct appeal, and the Eleventh Circuit
    ruled against him.

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